         Case 1:16-cr-10137-LTS Document 386 Filed 08/21/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
            v.                            )                  Case No. 16-cr-10137-LTS
                                          )
KENNETH BRISSETTE and                     )
TIMOTHY SULLIVAN                          )
__________________________________________)

           KENNETH BRISSETTE’S ASSENTED-TO MOTION FOR
      LEAVE TO FILE SUPPLEMENTAL MEMORANDUM IN SUPPORT OF
 HIS MOTION FOR JUDGMENT OF ACQUITTAL IN EXCESS OF TWENTY PAGES

       Defendant Kenneth Brissette moves this Court for leave to file a supplemental

memorandum in support of his Motion for Judgment of Acquittal in excess of the twenty-page

limit set forth in Local Rule 7.1(b)(4).      Pursuant to this Court’s August 7, 2019 Order,

“defendants may file motions and memoranda pursuant to Rule 33, as well as any supplemental

briefs regarding their pending Rule 29 motions, by August 21, 2019.” (dkt # 359). Mr. Brissette

has prepared a supplemental memorandum in support of his pending Rule 29 motion that is

currently twenty-seven pages.      Mr. Brissette’s memorandum contains supplemental legal

argument as well as substantial citations to the trial record, including both witness testimony and

exhibits. The trial transcripts cited in the supplemental brief were not previously available to Mr.

Brissette when his Motion for Judgment of Acquittal was filed on August 4, 2019.

       Accordingly, Mr. Brissette moves for leave to file a supplemental memorandum in

support of his Motion for Judgment of Acquittal of no more than twenty-seven pages.
         Case 1:16-cr-10137-LTS Document 386 Filed 08/21/19 Page 2 of 2



           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       Undersigned counsel hereby certify that they have conferred with the government and

that the government assents to this motion.




                                              Respectfully submitted,

                                              KENNETH BRISSETTE,
                                              By his attorneys,

                                              /s/ William H. Kettlewell
                                              /s/ Sara E. Silva
                                              /s/ Courtney Caruso

                                              William H. Kettlewell (BBO #270320)
                                              Sara E. Silva (BBO #645293)
                                              Courtney A. Caruso (BBO #687642)
                                              HOGAN LOVELLS US LLP
                                              100 High Street, 20th Floor
                                              Boston, MA 02110
                                              (617) 371-1000
                                              (617) 371-1037 (fax)
                                              bill.kettlewell@hoganlovells.com
                                              sara.silva@hoganlovells.com
                                              courtney.caruso@hoganlovells.com

                                              Dated: August 21, 2019




                                                 2
